









Dismissed and Memorandum Opinion filed September 29, 2005









Dismissed and Memorandum Opinion filed September 29,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00857-CR

____________

&nbsp;

CLYDE HUDSON RUTHERFORD,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
263rd District Court

Harris County, Texas

Trial Court Cause No. 1025529

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to the offense of failure to
comply with sexual registration requirements.&nbsp;
In accordance with the terms of a plea bargain agreement with the State,
the trial court sentenced appellant on July 26, 2005, to confinement for three
years in the Institutional Division of the Texas Department of Criminal
Justice.&nbsp; Appellant filed a pro se notice
of appeal.&nbsp; Because appellant has no
right to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed September 29, 2005.

Panel consists of Justices Hudson,
Frost, and Seymore. 

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





